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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 VEGGIE CREATIONS, LLC, et al.,

                Plaintiffs,

        v.                                                Civil Action 2:20-cv-5709
                                                          Judge Michael H. Watson
                                                          Magistrate Judge Chelsey M. Vascura
 CJ AMERICA, INC.,

                Defendant.


                                             ORDER

       This matter is before the Court for consideration of a Motion (ECF No. 49) filed by

Defendants-Counterclaimants CJ America, Inc. and CJ Foods, Inc. (collectively “Defendants”)

seeking leave to file Exhibit 7 (ECF No. 48–7) to their Response in Opposition (ECF No. 48) to

Plaintiff’s Motion for Leave to File a Second Amended Complaint (ECF No. 46). For the

following reasons, Defendants’ motion (ECF No. 49) is DENIED WITHOUT PREJUDICE.

       There is a strong presumption in favor of public access to judicial records. Stanley v.

Turner Oil & Gas Properties, Inc., No. 2:16-CV-386, 2017 WL 5068444, at *1 (S.D. Ohio July

24, 2017). The Sixth Circuit has affirmed that documents filed with the Court may be placed

under seal “[o]nly for the most compelling reasons.” Shane Grp., Inc. v. Blue Cross Blue Shield

of Michigan, 825 F.3d 299, 305 (6th Cir. 2016) (quoting In re Knoxville News–Sentinel Co., 723

F.2d 470, 476 (6th Cir. 1983)). “A movant’s obligation to provide compelling reasons justifying

the seal exists even if the parties themselves agree the filings should be sealed.” White v.

Wilberforce Univ., No. 1:16-CV-1165, 2017 WL 3537233, at *2 (S.D. Ohio Aug. 17, 2017)

(emphasis in original) (citing Rudd Equip. Co., Inc. v. John Deere Constr. & Forestry Co., 834
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F.3d 589, 595 (6th Cir. 2016)). The proponent of sealing therefore must “analyze in detail,

document by document, the propriety of secrecy, providing reasons and legal citations.” Shane

Grp., Inc., 825 F.3d at 305 (quoting Baxter Int’l, Inc. v. Abbott Labs., 297 F.3d 544, 548 (7th Cir.

2002)). These reasons and legal citations must be sufficient for a district court to “set forth

specific findings and conclusions which justify nondisclosure to the public.” Rudd Equip. Co.,

Inc., 834 F.3d at 594.

       Here, Defendants’ Motion fails to meet the high standard set forth by the Sixth Circuit.

Defendants indicate only that Plaintiffs-Counterclaimants Veggie Creations, LLC and Nature’s

One, LLC (collectively “Plaintiffs”) “designated the relevant exhibit . . . as CONFIDENTIAL –

SUBJECT TO PTOTECTIVE ORDER.” (Dfs.’ Motion 1, ECF No. 49.) But the parties’

agreement to maintain confidentiality, standing alone, does not constitute a compelling reason

for filing under seal. See Brown & Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1180

(6th Cir. 1983) (holding that a “confidentiality agreement between the parties does not bind the

court in any way”); White, 2017 WL 3537233, at *2 (finding the parties’ joint motion to file

under seal woefully inadequate where they merely asserted that they decided to keep the terms of

their settlement confidential); In re Black Diamond Mining Co., LLC, No. 15-96, 2016 WL

4433356, at *3 (E.D. Ky. Aug. 18, 2016) (explaining that the existence of a confidentiality

agreement, alone, is not a compelling reason to seal a record). Thus, even when the parties have

agreed among themselves to keep documents confidential, a proponent of sealing must provide

compelling reasons justifying sealing.

       Defendants have failed to do so. This is unsurprising, given that Defendants do not assert

an interest in keeping the information and documents at issue confidential. Rather, it is Plaintiffs

who do so, and therefore it their burden to meet the Shane Grp. standard. Indeed, the Stipulated



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Protective Order entered in this case outlines the process that should ordinarily be followed if a

party wishes to file a document under seal but is not the party or parties that might be prejudiced

by public disclosure. (ECF No. 20.) Specifically, the filing party is to give the potentially

prejudiced party or parties written notice of its intent to file the at-issue documents fourteen days

prior to any anticipated filing, and then the potentially prejudiced party or parties will have seven

days thereafter to move for sealing. (Id.)

       Accordingly, Defendants’ motion (ECF No. 49) is DENIED WITHOUT PREJUDICE.

The Court, however, will afford Plaintiffs an opportunity to submit a properly-supported motion

for the at-issue documents to be sealed WITHIN SEVEN DAYS OF THE DATE OF THIS

ORDER.1 If Plaintiffs do not file such a motion within this timeframe, Defendants shall file the

unredacted version of Exhibit 7 on the public docket without further order of the Court. Plaintiffs

are cautioned that any forthcoming motion must meet the standards set forth by the Sixth Circuit

and should be narrowly tailored, as the sealing of documents must be no broader than necessary.

See Shane Group, Inc., 825 F.3d at 305.



       IT IS SO ORDERED.



                                                      /s/ Chelsey M. Vascura
                                                      CHELSEY M. VASCURA
                                                      UNITED STATES MAGISTRATE JUDGE




1
 The Court notes that Defendants identified the at-issue documents by Bates-label range in their
Motion. ECF No. 49.
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